Case 2:04-cr-20247-SH|\/| Document 37 Filed 06/02/05 Page 1 of 2 Page|D 47
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IN THE UNITED STATES DISTRICT coURT Fi‘£m g
FoR THE WESTERN DISTRICT oF TENNESSEE - _
WESTERN DIVISION 95 JUH "'2 AH ll~ 114

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UNITED STATES OF AMERICA» W,r). oF m mmpi-113

  

_._,. U.C.

Plaintiff,

VS. NO. 04-20247-1\/121
MARCUS MCKlNNlE,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s June ], 2005 motion to continue the Sentencing Which
is presently Set for June 6, 2005. For good cause shown, the motion is granted The Sentencing
of defendant Marcus McKinnie is reset to Friday, June 17, 2005 at 9:30 a.m.

IT IS SO ORDERED this i day ofJune, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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This notice confirms a copy of the document docketed as number 37 in
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Honorable Sarnuel Mays
US DISTRICT COURT

